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                                    UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF PENNSYLVANIA

 NINGBO BONNY E-HOME CO.,                      Case No. 2:24-cv-00568
 LTD.                                          APPLICATION FOR INJUNCTIVE
                                               RELIEF UNDER FRCP RULE 65(b)

                    Plaintiff,
 v.

 ONDWAY et al.
                    Defendants.




       MEMORANDUM OF LAW IN SUPPORT OF APPLICATION FOR: 1)
       TEMPORARY RESTRAINING ORDER; 2) AN ORDER FREEZING AND
       RESTRAINING ASSETS; AND 3) AN ORDER TO SHOW CAUSE WHY A
       PRELIMINARY INJUNCTION SHOULD NOT ISSUE

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IN THE UNITED STATES DISTRICT COURT FOR THE WESTERN
DISTRICT OF PENNSYLVANIA


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NINGBO BONNY E-HOME CO.,                     Case No. 2:24-cv-00568 CB
LTD.


                   Plaintiff,
v.

ONDWAY, et al.
                   Defendants.




           .


                                MEMORANDUM
     I.    INTRODUCTION AND FACTUAL BACKGROUND
           Plaintiff Ningo Bonny eHome Co. Ltd submits this Memorandum in
     support of its application for: 1) a temporary restraining order; 2) an order freezing
     Defendants’ financial and other assets in their and Merchant Storefronts; and 3) an
     order to show cause why a preliminary injunction should not issue against
     Defendants,
            Plaintiff has obtained evidence demonstrating that Defendants are without
     authorization or license using Plaintiff’s patented design in promoting, selling,
     offering for sale and distributing products that infringe Plaintiff’s design patent in
     violation of US Patent Law. Defendants accomplish their illegal sales through the
     use of online marketplaces such as Amazon.com, eBay.com and others. Based on
     this evidence, Plaintiff filed a Complaint alleging design patent infringement under
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the Patent Act (35 USC 217 et sec. and 35 USC 171). Plaintiff’s allegations of
infringement are summarized in Exhibits 1- 9 to the Complaint. Exhibits 1-9 show
the respective Defendants products and the associated online store
front/marketplaces where the infringing products are offered for sale. Plaintiff has
determined that Defendants infringe the design patent using the “ordinary observer
test” which has been confirmed as appropriate by the Federal Circuit and in this
Federal District.
      A Declaration of Plaintiff’s president Hong Chuan Zheng (“President
Hong’s Declaration”) (Accompanying this Motion) outlines the impact of the
infringement that has been experienced from Defendants through unauthorized
sales on their websites. The unlawful activities have deprived and continue to
deprive Plaintiff of its exclusive rights to distribute and sell products which
encompass its proprietary rights and also allow it to recoup the expenses of
creation and product development and generally getting the product to market.
      Defendants are defrauding Plaintiff and the consuming public for
Defendants’ own benefit. Defendants are unjustly profiting at the Plaintiff’s
expense. Defendants should not be permitted to continue their unlawful activities,
which are causing Plaintiff irreparable harm. Accordingly, Plaintiff is seeking
entry of a temporary restraining order and then an injunction prohibiting
Defendants’ from further harming the Plaintiff through their willful and bad faith
infringement of the Plaintiff’s patent.
      Plaintiff also seeks to freeze financial assets and restrain the illegal profits
generated by Defendants acts Plaintiff has obtained evidence that Defendants
operating their marketing sites with Seller IDs via Amazon.com use money
transfer services with Amazon as a method to receive monies generated through
the sale of counterfeit products. Thus, Amazon also operates as a money
transmitter for sales made on the Amazon marketplace. Amazon has the ability to
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identify, and restrain, the payment accounts associated with the Defendants.
through the same Seller IDs via used to conduct their commercial transactions.
Additionally, Plaintiff has also obtained evidence that Defendants operating their
Seller IDs via eBay.com use money transfer and retention services with PayPal,
Inc. as a method for accepting payment for the sale of their counterfeit products.
See Declaration of Raymond Chan at paras. 5-9
       In light of the inherently deceptive nature of their infringing business,
Plaintiff has good reason to believe Defendants will hide or transfer their ill-gotten
assets beyond the jurisdiction of this Court unless they are restrained.
      Fed. R. Civ. P. 64 provides “every remedy is available that, under the law of
the state where the court is located, provides for seizing a person or property to
secure satisfaction of the potential judgment. Here in Pennsylvania a -judgment
restraint of existing assets is appropriate where a plaintiff is asserts a claim for
money damages. Walter v. Stacey, 837 A.2d 1205 (Pa. Super. 2003) (injunction
entered restraining assets in action seeking damages for a wrongful death); Also,
see Hoxworth v. Blinder, Robinson & Co., Inc., 903 F.2d 186 (3d Cir. 1990)
(affirming injunction entered restraining assets in class action lawsuit).
      This Court has previously granted injunctive relief in actions involving
intellectual property rights. For example, in the case of Gorge Design Grp. LLC v.
Syarme, 2020 U.S. Dist. LEXIS 250848 (WD Pa 2020) a TRO was granted in a
similar case of infringing products being sold by Defendants online storefronts and
marketplaces and causing irreparable harm, The Court (Judge Stickman) granted
the requested TRO and issued an order to show cause why a preliminary injunction
should not issue. See also Doggie Dental Inc. v. Go Well, No. 19-cv-1282 (W.D.
Pa. Oct. 11, 2019) (Hornak, J.) (Sellers on Amazon.com).
      Courts around the country have granted similar relief whether the defendants
are located outside of the United States or based in the United States. See for
                                                                                       6
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example: Cartier International A.G. v. Repl No. 17 cv-62401 (S.D. Fla. Jan. 2,
2018) (mix of U.S. and foreign defendants) and Juul Labs, Inc. v. The Partnerships
and Unincorporated Associations Identified on Schedule “A”, No. 18-cv-1382
(E.D. Va. Nov. 16, 2018)
      Creating and developing a product has been a costly effort that Plaintiff has
undertaken. This effort involving graphic and industrial design, fabrication tooling,
marketing and more takes time. Design, testing and redesign and retest of
prototypes are expenses that Plaintiff has experienced but that are avoided by
Defendants who merely copy Plaintiff efforts. Plaintiff’s Motion for a temporary
restraining order and preliminary injunction are in conjunction with the action
against Defendant for design patent infringement are all intended to stop
Defendants are using and selling products thar use without authorization at
Plaintiffs expense. See Presidents Declaration paras 3-5.
       Plaintiff has patented its unique design for a pool brush. Plaintiff has
established infringement under the “ordinary observer” test established by the
Federal Circuit. Lanard Toys Ltd. v. Dolgencorp LLC, 958 F.3d 1337, 1342 (Fed.
Cir. 2020) (quoting Egyptian Goddess, Inc. v. Swisa, Inc., 543 F.3d 665 , 679-80
(Fed. Cir. 2008). "Words cannot easily describe ornamental designs."
      By promoting, selling, offering for sale through retail sites on-line and
distributing unauthorized infringing products, Defendant is in violation of
Plaintiff’s rights and is causing damages that will not be stopped without order of
the Court.
      Defendants operate e-commerce in a manner that allows for buying and
selling online through electronic commerce.      Defendants have been contacted to
stop the infringement with no result. Consequently, Plaintiff filed this infringement
suit. See Declaration of Raymond Chan,


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      Plaintiff has continued to suffer irreparable harm and revenue losses of

roughly seventy percent loss of sales. This is detailed by President Hong in his

Declaration (and Attachment) which show the dramatic number of sales by

Defendants in 2022, 2023 and 2024.          Those sales replace Plaintiff’s genuine

earnings and limit the ability to recoup expenses.

      Pursuant to Federal Rule of Civil Procedure 65, Plaintiff now requests an

order requiring the cessation of sales in violation of Plaintiff’s rights. Plaintiff is

asking for the Court to grant a temporary restraining order and then conduct a

proceeding to enter a preliminary injunction to forestall harm that has been occurring

due to Defendants’ continued infringement.

      Defendants’ storefronts on the Amazon marketplace and other online sites

are allowing Defendants to advertise, offer for sale, and sell infringing products

into the United States, including into Pennsylvania. Plaintiff has been forced to

police the Amazon marketplace and other online marketplaces to identify and seek

takedowns of unlawful listings that continue to cause damage to Plaintiff’s

reputation and bottom line. Some Defendants sell their infringing copy of

Plaintiff’s Product at a fraction of Plaintiff’s price which causes an additional

problem in online ranking. Because of the software infrastructure on Amazon and

various Internet marketplaces, the lowest priced items are sorted to the top and/or

promoted by the software and then purchased by the consumers. Sometimes


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Plaintiff’s Product is ignored. Plaintiff has had varied success in contacting

Amazon.com identifying and requesting takedowns of the unlawful listings.


      For these reasons, Plaintiff retained legal counsel to help with a solution to

the damage to Plaintiff’s business that will continue unless Plaintiff receives the

sought-after restraining order and injunctive relief. See Declaration of Raymond

Chan paras 8-9.


II.   DEFENDANTS WRONGFUL ACTS


      Defendants do not have, nor have they ever had, the right or authority to use

Plaintiff’s patent any purpose. In President Hong’s Declaration and his spreadsheet

of Defendants sales, he identifies and particularly points out how Defendants’

unlawful activities have deprived and continue to deprive Plaintiff of its rights. A

spreadsheet tabulates Defendants’ illegal sales that are defrauding Plaintiff and the

consuming public for Defendants’ benefit. Defendants should not be permitted to

continue their unlawful activities, which are causing Plaintiff ongoing irreparable

harm. Accordingly, Plaintiff seeks the help of the Court to restrain and prohibit

Defendants’ further wrongful infringement. Defendants’ copying, reproduction,

manufacturing, and distributing of have resulted in infringing products that look

indistinguishable to consumers, both at the point of sale and post-sale. This is the




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same legal measure for design patent infringement of eye of an “ordinary

observer.”


      The infringement is doing double duty. By using Plaintiff’s intellectual

property, Defendants have created a false association. Thus they are trading on

both the design and reputation of the Plaintiff’s goods. Their infringement deprives

Plaintiff of the value from both compensation from sales and reputation.


      Through visual inspection of Defendants’ listings for infringing products, it

was confirmed that each Defendant is using the Plaintiffs patented design without

authorization and that each Defendant is offering for sale, using product features

virtually identical to Plaintiff’s. See Declaration of Raymond Chan para. 5-6.


      The sales of each Defendant that has been tabulated into the aforementioned

spreadsheet which is presented in the Declaration of President Hong has been

made through observation of the checkout pages or order forms for the infringing

products to confirm that each Defendant was and/or is still currently offering for

sale and/or selling infringing products through seller sites. There each Defendant

provides shipping information and has actually shipped Infringing products to the

United States, including to customers located in Pennsylvania. At checkout, a

shipping address located in the Pittsburgh area in the Western District of

Pennsylvania verified that each Defendant provides shipping to the Pennsylvania

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Address. Plaintiff purchased items that were shipped to this area, inspected them

and made confirmations. All of the products shipped and received were physically

examined and determined to infringe in a manner that comports with case law

established by the Federal Circuit. See also, Gucci Am., Inc. v. Tyrrell-Miller, 678

F. Supp. 2d 117, 119 (S.D.N.Y. 2008) (Plaintiff’s Intellectual Property Manager

found that the products offered for sale on the Defendant’s websites were non-

genuine counterfeit products, based on a visual inspection of Defendant's

websites).


         Ultimately, Defendants’ Internet activities infringe upon Plaintiff’s

intellectual property rights. The Seller IDs, and associated payment accounts, are a

substantial part of the means by which Defendants further their scheme to

fraudulently and unjustly deprive the Plaintiff of profits and cause reputational

harm. Accordingly, Plaintiff respectfully requests that this Court grant their

application the following: 1) a temporary restraining order; 2) an order freezing

financial assets and restraining assets on Amazon storefronts and other Merchant

Storefronts; 3) an order to show cause why a preliminary injunction should not

issue.


         Exhibits 1-9 to the Complaint plus the comprehensive spreadsheet

containing identification of seller sites and volume of infringing sales support for


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this Application. Should the Court need any additional marketplace information,

Plaintiff will endeavor to make that available.

III.     ARGUMENT

       A. THIS COURT HAS PERSONAL JURISDICTION OVER

         DEFENDANTS

         Federal courts “may assert personal jurisdiction over a nonresident of the

state in which the court sits to the extent authorized by the law of that state.”

D’Jamoos v. Pilatus Aircraft, 566 F.3d 94, 102 (3d Cir. 2009) (quoting Provident

Nat’l Bank v. Cal. Fed. Sav. & Loan Ass’n, 819 F. 2d 434 (3rd Cir. 1987)). See

also D'JAMOOS v. ATLAS AIRCRAFT CTR., INC. 2009 U.S. Dist. Ct. Motions

LEXIS 40167

         Here Defendants infringing activities subject them to long-arm jurisdiction

in Pennsylvania under 42 P. A. Cons. Stat. § 5322. Pennsylvania’s exercise of

jurisdiction over Defendants comports with due process.

         To support the finding of jurisdiction the court must determine that the long-

arm statute of the forum allows courts of that state to exercise jurisdiction over the

defendant. Fed. R. Civ. P. 4 (e) The previously cited D’Jamoos cases provide

analysis of use of the long arm statutes.



Defendants are Subject to Personal Jurisdiction Under 42 P.A. C.S.A. § 5322.


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   Pennsylvania authorizes personal jurisdiction over the Defendants pursuant

to 42 Pa. Cons. Stat § 5322 (a) which provides in pertinent part: “A tribunal of

this Commonwealth may exercise personal jurisdiction over a person as to a

cause of action or other matter arising from such person: (1) Transacting any

business in this Commonwealth. (2) The doing of a single act in this

Commonwealth for the purpose of thereby realizing pecuniary benefit… (3)

Causing harm or tortious injury by an act or omission in this Commonwealth.

(4) Causing harm or tortious injury by an act or omission outside this

Commonwealth. . .(10) Committing any violation within the jurisdiction of the

Commonwealth of any statute, home rule charter, local ordinance or resolution,

or rule or regulation promulgated thereunder by any government unit or of any

order of court or other government unit.”

Courts have regularly conferred personal jurisdiction on a given defendant

based on that defendant’s operation of a fully interactive website through which

consumers can access the site from anywhere and purchase products, as is this

case, and allow for customers all over the world (including within Allegheny

County, Pennsylvania) to view and purchase products, including Infringing

Products, as demonstrated by the websites themselves and Plaintiff’s purchases

of infringing products.




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    This Court may exercise personal jurisdiction when, as here, the plaintiff

can establish that the cause of action at issue arose from the defendant’s

activities within the forum state. Helicopteros Nacionales de Colombia, S.A. v.

Hall, 466 U.S. at 414 (1984). Here, the Defendants intentionally directed their

activity towards the Pennsylvania market, thereby purposefully availing

themselves of “the privilege of conducting activities within the forum State,

thus invoking the benefits and protections of its laws.”

   Thus, Defendants have committed tortious acts that give rise to personal

jurisdiction. This is explained in the case of A-1 Mortg. Corp. v. Day One

Mortg., LLC, 2007 WL 30317 (W.D. Pa. 2007) where similar to our present

case the court awarded permanent injunctive where the injury clearly occurred

within Pennsylvania, and as Defendants’ listings, resulted in consumers

throughout the U.S., and specifically in Pennsylvania, purchasing infringing

products. Accordingly, this Court has personal jurisdiction over Defendants

who have intentionally availed themselves of the opportunity to do business in

Pennsylvania, and specifically in Allegheny County, Pennsylvania.

   Plaintiff has viewed Defendant’s infringing products via their online

Amazon.com and purchased them and physically received them and examined

them and observed that Defendants paid Pennsylvania sales tax for the privilege

of intentionally shipping the products into this district.


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     Even stronger is the precedent in this District that Defendants simply making

offerings for sale is sufficient to give personal jurisdiction over the alleged

infringer within the state. Zippo Manufacturing Co. v. Zippo Dot Com, Inc.,

952 F. Supp. 1119 (W.D. Pa. 1997). In Zippo this Court considered the

Constitutionally permissible reach of Pennsylvania's Long Arm Statute, 42

Pa.C.S.A. § 5322, “through cyberspace” and stated that “ when an entity

intentionally reaches beyond its boundaries to conduct business with foreign

residents, the exercise of specific jurisdiction is proper.1

“Different results should not be reached simply because business is conducted

over the Internet”. This constitutional touchstone is met by the Defendants

offering for sale and/or selling of Infringing Products through their

Amazon.com and unequivocally establishes that Defendants conduct business

within this District and the claims in this suit arise from Defendants’ business

dealings and transactions with consumers in Pennsylvania.


1
  At notes 4 and 5, the Zippo Court added additional background on the exercise of personal
jurisdiction: “The Constitutional limitations on the exercise of personal jurisdiction differ
depending upon whether a court seeks to exercise general or specific jurisdiction over a non-
resident defendant. General jurisdiction permits a court to exercise personal jurisdiction over
a non-resident defendant for non-forum related activities when the defendant has engaged in
"systematic and continuous" activities in the forum state. Helicopteros Nacionales at 408 In
the absence of general jurisdiction, specific jurisdiction permits a court to exercise personal
jurisdiction over a non-resident defendant for forum-related activities where the "relationship
between the defendant and the forum falls within the 'minimum contacts' framework" of
International Shoe.


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     The assertion of personal jurisdiction over Defendants comports with the

Due Process Clause of the U.S. Constitution, as Defendants have “certain

minimum contacts ... such that maintenance of this suit does not offend

‘traditional notions of fair play.

     Thus, the Plaintiff has made out a prima facie case that Defendants’ contacts

with the Pennsylvania meet the “minimum contacts” test. Pennsylvania’s long-

arm statute provides that jurisdiction may be exercised “to the fullest extent

allowed under the Constitution of the U.S. and may be based on the most

minimum contact with this Commonwealth allowed under the Constitution of

the U.S.” 42 Pa. C. S. A. § 5322(b) (1981).2



     In our present case of infringing pool brushes, each of the Defendants has

used an interactive web site for offering for sale and selling infringing products.




2
  Because Pennsylvania’s long-arm statute is coextensive with the dictates of the U.S.
Constitution, the traditional two-step analysis is collapsed into a single inquiry: “whether the
exercise of personal jurisdiction would conform with the Due Process Clause.” Poole v.
Sasson, 122 F. Supp. 2d 556, 558 (E. D. Pa. 2000). Due process requires that the defendant
have “minimum contacts” with the forum state. Remick v. Manfredy, 238 F.3d 248, 255 (3d
Cir. 2001) (quoting International Shoe Co. v. Washington, 326 U.S. 310 (1945)). The
Supreme Court states that “Minimum contacts must have a basis in ‘some act by which the
defendant purposefully avails itself of the privilege of conducting activities within the forum
state, thus invoking the benefits and protections of its laws defendant purposefully
established" contacts with the forum state. Burger King Corp. v. Rudzewicz, 471 U.S. 462,
(1985)

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This Court has personal jurisdiction over each Defendant based upon internet-

based sales activity into the US and this judicial district.

    The Zippo case also established a “sliding scale” analytical framework for

internet-based personal jurisdiction cases based upon the “level of interactivity

and commercial nature of the exchange of information that occurs on the Web

site.” 952 F. Supp. at 1124. The court explained: [T]the likelihood that personal

jurisdiction can be constitutionally exercised is directly proportionate to the

nature and quality of commercial activity that an entity conducts over the

Internet. This sliding scale is consistent with well-developed personal

jurisdiction principles. At one end of the spectrum are situations where a

defendant clearly does business over the Internet. If the defendant enters into

contracts with residents of a foreign jurisdiction that involve the knowing and

repeated transmission of computer files over the Internet, personal jurisdiction

is proper. At the opposite end are situations where a defendant has simply

posted information on an Internet Web site which is accessible to users in

foreign jurisdictions. A passive Web site that does little more than make

information available to those who are interested in it is not grounds for the

exercise of personal jurisdiction. The middle ground is occupied by interactive

Web sites where a user can exchange information with the host computer. In

these cases, the exercise of jurisdiction is determined by examining the level of


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interactivity and commercial nature of the exchange of information that occurs

on the Web site.

   The Third Circuit endorsed this general framework in Toys “R” Us, Inc. v.

Step Two, S.A., 318 F.3d 446 (3rd Cir. 2003), but clarified that the plaintiff

must also provide evidence of “the intentional nature of the defendant’s conduct

vis-a-vis the forum state.” Id. at 452. In other words, “there must be some

evidence that the defendant ‘purposefully availed’ itself of conducting activity

in the forum state, by directly targeting its website to the state, knowingly

interacting with residents of the forum state via its website, or through sufficient

other related contacts.” Id. at 454. See also Mellon Bank (East) PSFS, N.A. v.

DiVeronica Bros., Inc., 983 F.2d 551, 556 (3d Cir. 1993) (citing Burger King

Corp. v. Rudzewicz, 471 U.S. 462, 477 (1985)).

Since Zippo and Toys “R” Us, most courts have concluded that a defendant

that intentionally conducts business transactions over an interactive website

with customers in the forum state has purposefully directed itself of the laws of

that forum.

   In Square D, for example, the defendant’s website contained links providing

“a [telephone] number and e-mail address for the purpose of placing an order,”

information concerning product warranties, and a link that permitted a potential

purchaser to “submit a form specifying the manufacturer, catalog number, and


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quantity of the product to be purchased, as well as the purchaser’s company

name, phone, fax and e-mail.” Square D Co. v. Scott Elec. Co., , 2008 WL

4462298 (W.D. Pa. Sept. 30, 2008). Although a customer could not directly

order products using only the website, customers could “commence the

ordering process” by “providing much of the same type of information that

would be required for an order (e.g., manufacturer, quantity, catalog number,

contact information).” The court noted that the website had produced “twenty-

four (24) Pennsylvania customers and a total of $10,238.25 in sales” for the

defendant. Although this amount represented “less than 1%” of the defendant’s

total sales, the Court concluded that it was sufficient to establish personal

jurisdiction in the state of Pennsylvania. As explained by the court: The

website was more than a mere advertisement; rather, it was an interactive site

that allowed customers to take the first step in an ordering process that could be

completed with one phone call or e-mail. By knowingly selling and shipping a

product that is at issue in this litigation to a customer in Pennsylvania, the

Moving Defendants purposefully availed themselves of the laws and privileges

of this forum.

Willyoung v. Colorado Custom Hardware, Inc. is similarly instructive. In

Willyoung, the website at issue allowed visitors to “request a catalog by

supplying certain information according to the website prompts, contact the


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company directly by e-mail, subscribe to on-line newsletter, and search, view,

and select products for on-line purchase via a ‘shopping cart.’” Over a two-year

period, Pennsylvania customers had utilized the website to place 211 orders

amounting to $41,566.05 in sales. Based on the foregoing, the court concluded

that the defendant had purposefully availed itself of the privilege of conducting

business in the state of Pennsylvania by “intentionally and repeatedly

engag[ing] in internet-based sales of its products to Pennsylvania residents via

its website.”3



      In our present case, Defendants have all offered interactive web sites for

viewing, ordering, and paying for the infringing products and have purposefully

availed themselves of the opportunity to conduct business with Pennsylvania



3
    Other courts have frequently reached the same conclusion such as S Gentex Corp. v. Abbott, 978 F.
Supp. 2d 391, 398 (M.D. Pa. 2013) (finding personal jurisdiction where non-resident defendant’s
interactive website was used by Pennsylvania residents to place at least 17 orders over a three year
period); TRE Services, Inc. v. U .S. Bellows, Inc., 2012 WL 2872830, *4–5 (W.D. Pa. July 12, 2012)
(finding personal jurisdiction based on defendant’s commercially interactive website that accepted
orders from Pennsylvania); Gourmet Video, Inc. v. Alpha Blue Archives, Inc., 2008 WL 4755350, *3
(D.N.J. Oct. 29, 2008) (“Personal jurisdiction is properly exercised over a defendant using the
Internet to conduct business in the forum state.”); L’Athene, Inc. v. EarthSpring LLC, 570 F. Supp.
588, 593–94 (D. Del. 2008) (defendants purposely availed themselves of doing business in state of
Delaware where they operated a website accessible in Delaware, received orders and payments from
customers in Delaware, and shipped their products to Delaware).



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citizens. Further there is sufficient evidence to establish the type of “intentional

interaction with the forum state” required by the Third Circuit for the exercise

of personal jurisdiction. See Toys “R” Us, 318 F.3d at 451–52 (requiring

evidence that the defendant has “intentionally interact[ed] with the forum state.

As noted in Zippo, “[t]he Supreme Court has made clear that even a single

contact can be sufficient.” Zippo, 952 F. Supp. at 1127

   Since the Defendants have purposefully availed themselves of the

opportunity to conduct business with Pennsylvania citizens through their

interactive websites, including collecting and paying Pennsylvania sales tax, the

Court must next consider whether this litigation “arise[s] out of and relate[s] to”

those sales.

   Here, the lawsuit directly arises out of the Defendants’ respective sales of

infringing products into Pennsylvania residents through their interactive

websites. See Square D. at 11 (finding the relatedness requirement satisfied

where “at least one” of the products sold to a Pennsylvania resident by the

defendant was from the allegedly infringing line of products at issue in the

litigation). All of the Infringing Products which are the subject of this lawsuit

were sold into Pennsylvania. Therefore, the “arise[s] out of and relate[s] to” test

is easily met here.




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   Finally, the Court must consider whether the exercise of jurisdiction would

otherwise comport with “traditional notions of fair play and substantial justice.”

O’Connor v Sandy Lane Hotel Co., Ltd, 496 F.3d 312, 316 (3rd Cir. 2007).

Because the existence of minimum contacts makes jurisdiction presumptively

constitutional, the defendant at step three of the specific-jurisdiction-inquiry

process “must present a compelling case that the presence of some other

considerations would render jurisdiction unreasonable.” Burger King, 471 U.S.

at 477.

   As the Third Circuit has observed: The Supreme Court has identified several

factors that courts should consider when balancing jurisdictional

reasonableness. Among them are the burden on the defendant, the forum state’s

interest in adjudicating the dispute, the plaintiff’s interest in obtaining

convenient and effective relief. O’Connor, 496 F.3d at 324.

   The burden on the defendant at this stage of the inquiry is considerable. See

Pennzoil Prods. Co. v. Colelli & Assocs., Inc., 149 F.3d 197, 207 (3rd Cir.

1998) (noting that if minimum contacts are present, then jurisdiction will be

unreasonable only in “rare cases”).

   Moreover, here the Plaintiff’s interest in obtaining convenient and effective

relief in the forum of its choice and Pennsylvania’s interest in protecting its

citizens from the sale of infringing goods within its borders are factors that


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   weigh heavily in finding personal jurisdiction of the Defendants. See Zippo,

   952 F.Supp. at 1127, (“If[the defendant] had not wanted to be amenable to

   jurisdiction in Pennsylvania, the solution would have been simple—it could

   have chosen not to sell its [products] to Pennsylvania residents.” Zippo at 1126–

   27. Accordingly,

       Considering the above discussed applicable case law and the pertinent facts,

   Plaintiff respectfully submits that this Court has personal jurisdiction over

   Defendants in this action.



PLAINTIFF IS ENTITLED TO A TEMPORARY RESTRAINING ORDER

AND A PRELIMINARY INJUNCTION



      Defendants fraudulently promote, advertise, sell, and offer for sale goods

infringing Plaintiff’s patent, via their fully interactive, commercial Internet e-

commerce stores using the Seller IDs. Specifically, Defendants wrongfully use

infringements of Plaintiff’s proprietary rights to increase traffic to their illegal

operations. By their actions, Defendants are passing off Defendants’ infringing

products as Plaintiff’s genuine products and creating a false association in the

minds of consumers between Defendants and Plaintiff. The entry of a temporary

restraining order would serve to immediately stop Defendants from benefiting


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from their wrongful use of Plaintiff’s intellectual property at issue and preserve the

status quo until such time as a hearing can be held.,. As Defendants engage in

illegal infringing activities, Plaintiff has no reason to believe Defendants will make

their assets available for recovery pursuant to an account of profits or will adhere

to the authority of this Court any more than they have adhered to the patent law.

      This Court should prevent injustice from occurring by issuing a temporary

restraining order which precludes Defendants from continuing to display their

infringing products. Only such an order will prevent ongoing irreparable harm and

maintain the status quo. Many courts have granted a temporary restraining order in

situations where the harm to plaintiffs far outweighed the harm to defendants.

      The Third Circuit holds that a district court must evaluate the following four

factors in deciding whether preliminary injunctive relief is appropriately entered:

(1) the extent to which the moving party will suffer irreparable harm without

injunctive relief; (2) the likelihood that the moving party will succeed on the

merits; (3) the extent to which the nonmoving party will suffer irreparable harm if

the injunction is issued; and (4) the public interest. AT&T Co. v. Winback and

Conserve Program, Inc., 42 F.3d 1421, 1427 (3d Cir. 1994).

      As shown below, Plaintiff readily meets the criteria for obtaining a

temporary restraining order and preliminary injunction. The “standards which

govern consideration of an application for a temporary restraining order are the


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same standards as those which govern a preliminary injunction.” Local 1814, Int'l

Longshoremen's Ass'n v. N.Y. Shipping Ass’n, Inc., 965 F.2d 1224, 1228 (2d Cir.

1992). Plaintiff has met the standard for a preliminary injunction, and accordingly,

a temporary restraining order should also be issued against Defendants.

      1. Plaintiff Will Suffer Irreparable Harm in The Absence of an

      Injunction Leaving It with No Adequate Remedy at Law Defendants’

      infringing activities must be stopped immediately in order to prevent

      any further harm to Plaintiff.

             Plaintiff stands to suffer irreparable harm and lost profits as a result

      of Defendants’ competing substandard infringing products, but also it

      deprives Plaintiff of its exclusive rights. see Declaration of President Hong

      and Declaration of Raymond Chan. In President Hong’s Declaration, he

      discusses a 70% loss of revenue since 2020, which he believes to be largely

      from sales of infringing products by Defendants. These losses are confirmed

      in a spreadsheet showing the specific amounts of pool brush sales by

      Defendants. These figures are taken directly from the sales reports obtained

      from Defendants online sites.

             Raymond Chan has provided a Declaration that confirms Plaintiff’s

      downward trends of revenue shown in Plaintiffs financial reports. These




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 show a dramatic loss of revenue over the years 2022-24 from sales in the

 United States as follows:

       2022

       The first of the screenshots show a high level of revenue from the

 company's two products from 2022 for two pool brush products named

 Poolvio. For 2020 sales volume from that year was 11821 pieces ordered of

 Product 1 and 2499 units of the second product

       The Revenue from these two products, as shown, was 430899.76 for

 Product 1 and 64890.10 for product 2.

       The report shows that sales fell in 2023. The volume of product for

 Poolvio 1 fell to   10456. For Product No 2 it fell to 3994. The Revenue

 from Product 1 fell to 315725.32 and Product 2 was 121759.98.



       For 2024 the decline continues. Attached to the declaration is a set of

 screen shots with financial reports of Ningbo Bonny eHome for the years

 2022-2024. What is shows is sales and revenue from orders from the United

 States.

       These figures show a dramatic loss trend that is a least 70% of sales

 measured by sales volume and by revenue decline. This decline may

 continue and make it difficult for the company to cover its cost of business.


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       Plaintiff asserts that this huge negative trend is because of the

 Defendants copied products on the market.



 2. Plaintiff is Likely to Prevail on The Merits of Its Patent Infringement

 Claim

       Plaintiff asserts a cause of action under Patent Law and has

 established a likelihood of success on this cause of action.

         To prove design patent infringement requires demonstration of two

 elements: (1) ownership of a patent and (2) unauthorized infringement of

 Plaintiff’s exclusive rights. The measure of infringement of a design patent

 is through the eye of the ‘See Homy Casa Ltd. v. Jili Creation Tech. Co.,

 Ltd. Pennsylvania Western District Court November 5, 2024, 2024 U.S.

 Dist. LEXIS 200757. To show infringement through the eye of the

 beholder, Plaintiff has provided a prima facie case in the Complaint and

 attached Exhibits. These Exhibits show the ownership of a patent and the

 infringing products that are exactly similar to the patented design which

 demonstrates    a high likelihood of success as the infringing products are a

 mirror image of Plaintiff’s design. There is barely room for any debate that

 they are the same exact design as Plaintiff has registered as a design patent.




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       Accordingly, the likelihood that Plaintiff will succeed on the merits of

 the case is very high since the elements of an infringement case, ownership

 and unauthorized use are both present in this case.



 3. The Balance of Hardships Favors Plaintiff

       The balance of hardships unquestionably and overwhelmingly favors

 Plaintiff in this case. Here, as described above, Plaintiff has suffered and will

 continue to suffer irreparable harm to its business, the value, goodwill and

 reputation built up in and associated with the Plaintiff’s products. In

 contrast, any harm to Defendants would only be the loss of Defendants’

 ability to continue to offer their infringing Products for sale, or, in other

 words, the loss of the benefit of being allowed to continue to unfairly profit

 from their illegal and infringing activities. “Indeed, to the extent defendants

 choose to build a business on products found to infringe [they] cannot be

 heard to complain if an injunction against continuing infringement destroys

 the business so elected.” Windsurfing Intern, Inc. v. AMF, Inc., 782 F.2d

 995, 1003 n.12 (Fed. Cir. 1986); Broad. Music, Inc. v. Prana Hosp., Inc.,

 158 F. Supp. 3d 184, 196 (S.D.N.Y. 2016) Defendants’ continuing

 infringing activities are causing irreparable harm to the Plaintiff’s reputation

 and depriving Plaintiff of its exclusive rights.


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  4. The Relief Sought Serves the Public Interest

     Defendants are directly defrauding the consuming public with the

  infringing products as Plaintiff’s genuine goods. The “public has an interest

  in not being deceived.



B. PLAINTIFF IS ENTITLED TO AN ORDER PREVENTING THE
  FRAUDULENT TRANSFER OF ASSETS AND FREEZING OF
  DEFENDANTS’ MERCHANT STOREFRONTS FINANCIAL
  ASSETS
  1. Defendants’ Assets Must be Frozen.

     In addition, the Court should enter an order limiting the transfer of

  Defendants’ unlawfully gained assets. Plaintiff has demonstrated above that

  they will likely succeed on the merits of their claims. As such, under 17

  U.S.C. § 504(b), Plaintiff will be entitled to an accounting and payment of

  the profits earned by Defendants throughout the course of their unlawful

  scheme. Furthermore, it is unlikely that Defendants possess the funds to

  satisfy any potential judgment and Pennsylvania law also permits the

  prejudgment restraint sought by Plaintiff. Due to the deceptive nature of

  Defendants’ business, and Defendants’ deliberate violations of patent law,

  Plaintiff respectfully requests this Court grant additional relief restraining

  the transfer of all monies held or received by PayPal, Amazon, or other


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 financial institutions for the benefit of any one or more of the Defendants.

 See Hoxworth v. Blinder, Robinson & Co., Inc., 903 F.2d 186 (3d Cir. 1990)

 (district court has power to issue an injunction in order to protect a future

 damage remedy).

    This Court has broad authority to grant such an order.

    The Supreme Court has provided that district courts have the power to

 grant preliminary injunctions to prevent a defendant from transferring assets

 in cases where an equitable interest is claimed. Grupo Mexicano de

 Desarrollo, S.A. v. Alliance Bond Funds, Inc., 527 U.S. 308 (1999). The

 Third Circuit has additionally ruled that district courts have the power to

 grant preliminary injunctions to prevent a defendant from transferring assets

 in order to protect a future damages remedy. Hoxworth v. Blinder, Robinson

 & Co., Inc., 903 F.2d 186 (1990). Moreover, almost every Circuit has

 interpreted Rule 65 of the Federal Rules of Civil Procedure to grant

 authority to restrain assets pende lite. For example, Pension Fund v.

 Messera, 1997 WL 223077 (S.D.N.Y. May 7, 1997) (acknowledging that

 “[a]lmost all of the Circuit Courts have held that Rule 65 is available to

 freeze assets pendent lite under some set of circumstances”). 4


    4
        Many federal courts have granted the temporary restraint of an infringer’s assets in
 cases similar to this one, including actions against operators of ‘rogue’ websites selling

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    Defendants, who are manufacturing, importing, exporting, advertising,

 marketing, promoting, distributing, displaying, offering for sale and/or

 selling infringing products to U.S. consumers solely via the Internet, and

 accepting payment for such in U.S. Dollars and causing irreparable harm to

 Plaintiff in the form of lost sales, loss of goodwill and loss of control of its

 reputation with licensees, retailers and consumers, and can, and most

 certainly have the incentive to, transfer and hide their ill-gotten funds if their

 assets are not frozen.

 2. Defendants’ User Accounts and Merchant Storefronts Must be

    Frozen.

        A temporary restraining order which restrains and enjoins any and all

    as yet undiscovered online marketplace platforms, from providing

    services to Defendants’ is warranted and necessary because the continued

    offering for sale and/or sale of the Infringing Products by Defendants



 infringing products to ensure the availability of an equitable accounting. See, Tory Burch
 LLC v. Yong Sheng Intl Trade Co., Ltd., No. 10-Civ-9336 (S.D.N.Y. December 17,
 2010). District courts have the “authority to freeze those assets which could [be] used to
 satisfy an equitable award of profits.” North Face Apparel Corp. v. TC Fashions, Inc.,
 (S.D.N.Y. Mar. 30, 2006). Furthermore, in the Third Circuit, the inability of a defendant
 to satisfy a judgment for legal damages justifies a pre-judgment restraint of existing
 assets. Hoxworth v. Blinder, Robinson & Co., Inc., 903 F.2d 186 (3d Cir. 1990)



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     will result in immediate and irreparable injury to Plaintiff. A freezing of

     Defendants’ Merchant Storefronts also acts to provide immediate notice

     of the present action to Defendants.



C. PLAINTIFF’S REQUEST FOR A SECURITY BOND IN THE
  AMOUNT OF $5,000 IS ADEQUATE
        This Court has broad discretion in determining the adequacy of a

  security bond. C.J. Hughes Constr. Co. Inc. v. Eqm Gathering Opco, LLC

  Pennsylvania Western District Court, 2023 U.S. Dist. LEXIS 243189.

  A bond is a condition of preliminary injunctive relief. Fed. R. Civ. P. 65(c)

  and requires a successful applicant for a preliminary injunction to post a

  bond, “in such sum as the [district] court deems proper, for the payment of

  such costs and damages as may be incurred or suffered by any party who is

  found to have been wrongfully enjoined.” Thus, the injunction bond

  “provides a fund to use to compensate incorrectly enjoined defendants.”

  Instant Air Freight Co. v. C.F. Air Freight, Inc., 882 F.2d 797, 804 (3d Cir.

  1989). The injunction bond also serves other functions. “It is generally

  settled that, with rare exceptions that a wrongfully enjoined has recourse

  only against the bond.” See also Hoxworth v. Blinder, Robinson & Co.,

  Inc., (Applicants “derive some protection from the bond requirement, for

  [enjoined parties] injured by wrongfully issued preliminary injunctions can
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 recover only against the bond itself.”). Thus, the bond generally limits the

 liability of the applicant and informs the applicant of “the price [it] can

 expect to pay if the injunction wrongfully issues.” Instant Air Freight, 882

 F.2d at 805; see also id. at 805 n. 9 (“The bond can thus be seen as a contract

 in which the court and [the applicant] ‘agree’ to the bond amount as the

 ‘price’ of a wrongful injunction.”).

         Plaintiff respectfully submits that an amount of $5000.00 is

 appropriate in connection with the nature of the financial volumes in this

 case and with Plaintiff’s dire financial straits. See Declaration of Raymond

 Chan.

 VI CONCLUSION

         For the reasons set forth above, Plaintiff respectfully requests that the

 Court enter: 1) a temporary restraining order; 2) an order restraining assets

 and freezing financial assets ; 3) an order to show cause why a preliminary

 injunction should not issue and such other relief to which Plaintiff may show

 it is legally entitled.. A proposed Order is provided with this Application.




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Dated: May 6, 2025                 RAYCHAN I.P. LAW FIRM, PLLC




                                   /s/ Patricia Ray




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